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“AO 91 (Rev. 08/09) Criminal Complaint

iN ONS OA UNITED STATES DISTRICT COURT

 

F cee, forthe
FEB | 2020 “ " “Southern District of Texas
David J. Bradley, Clerk
' United States of America +
Vv. , )
_) CaseNo. M-.207- W2o-M
Jose Francisco GUERRA ) .
YOB: 1939 CITIZENSHIP: USA ,
Defendant(s) .

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of __February 12, 2020 - in the county of Hidalgo in the
Southern Districtof . Texas -__, the defendant(s) violated:
Code Section Offense Description
18.U.S.C..§ 554 ‘ Knowingly a and fraudulantly smuggled and attempted to smuggle cigarettes from
a : _ the United States contrary to law.
418 U.S.C. § 2342 (a)(b) . (a) unlawful to knowingly ship, transport, receive, possess, sell, distribute, or

purchase contraband cigarettes or contraband smokeless tobacco.(b) unlawful
to knowingly make any false statement or representation with information
‘required to be kept in the records of a person who ships, sells or distributes any

21 U.S.C § 381(e)(1)(B) , quanitity of cigarettes in excess of 10,000 in a single transaction.
, , Adulterated:and misbranded tobacco intended for export.

This criminal complaint is based on these facts:

‘SEE ATTACHMENT "A"

¥ Continued on the attached sheet. .

A pproved AUS Melk Uti o | " concn senature

Matthew Shoemaker U.S. HSI Special Agent

Lf / q/, RO , , ~ , Printed name and title

Sworn to before me and signed in my presence.

Date: cD —F or. A, >
‘ ‘ ' LO , Judge’s signature

City and state: McAllen, Texas _ -__ Honorable Juan F. Alanis U.S. Magistrate Judge

Printed name and title

 

 
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Attachment A

On February 12, 2020, Homeland Security Investigations (HSI) Special Agents (SA) conducted a
surveillance operation at a warehouse located at 3901 W Ursula Ave, McAllen, TX. The
warehouse was identified as being utilized to store foreign manufactured cigarettes that were
illegally entering U.S. commerce and also being smuggled to Mexico. .HSI SAs observed multiple
~ white vans displaying insignia associated with Victor Guerra Duty Free near the area of the
warehouse. During the surveillance operation, HSI SAs observed a white van exit the
warehouse. The van left the area of the warehouse and began traveling at a high rate of speed
as if it was trying to evade the surveillance team. The van subsequently returned to the
warehouse and was observed entering the warehouse. Shortly after the van entered the’
warehouse, HSI SAs observed the warehouse closing a rolling steel door and an entrance gate
‘to the warehouse.

HSI SA Shoemaker and SA Perez approached the aforementioned warehouse and identified
themselves as federal agents to Jose Francisco GUERRA. SAs asked if they if the could enter the
premises and speak to GUERRA. GUERRA granted HSI SAs consent to conduct an inspection of
the premises. Upon entering the warehouse, SAs-clearly observed approximately 40 cases of
unstamped cigarettes outside of the in-bond caged area. HS! SAs with the assistance of HS! Task -
Force Officers, and a representative of the Government of Mexico Servicio de Administracion
Tributaria (SAT) conducted an inspection of the cigarettes in the warehouse. HSI McAllen
identified a foreign produced brand of cigarettes that had previously been seized for illegally .
entering U.S. commerce during a previous operation. The Mexican SAT representative advised
that numerous brands of cigarettes in the warehouse were banned in Mexico for health’
reasons and other brands that were in violation of Mexican laws to include FISCAL (TAX)
FEDERAL CODE: Chapter II Fiscal Crimes, Articles 102:and Chapter: Unique, Article 176 (I and III),
177 (III); therefore, the cigarettes are considered adulterated and misbranded while being
intended for export to Mexico.

On February 12, 2020, an HSI SA advised GUERRA of his Miranda rights, GUERRA stated he
understood his rights and voluntarily waived them orally and in writing. GUERRA made the
following non-verbatim statements that have been paraphrased and may not be in the order in
which he gave them.

GUERRA stated he had been smuggling cigarettes to Mexico in increments of 40 cases
(containing approximately 400,000 individual cigarettes) on a regular basis. GUERRA stated he
was aware that it was illegal to smuggle cigarettes into Mexico. GUERRA also stated that he _..
knew that in bond cigarettes were required by law to be secured within the bonded cage inside
of the warehouse and that there were cigarettes that he had outside of the bonded cage. .
GUERRA estimated he had approximately 800,000 pounds of cigarettes in his warehouse and
stated he planned to illegally smuggle all of them to Mexico.
